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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

        v.                                                                           ORDER
                                                                                   10-CR-184S

ANTONIO BRIGGS, et al.,

                        Defendants.

        1.      Defendant Antonio Briggs is charged in a multi-count, multi-defendant, Third

Superseding Indictment with conspiring to possess with intent to distribute, and to

distribute, 5 kilograms or more of cocaine, 28 grams or more of cocaine base, heroin,

MDMA, oxycodone, hydrocodone, marijuana, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(A), 841(b)(1)(B), 841(b)(1)(C), 841(b)(1)(D), 841(b)(1)(E),

and 846. (See Third Superseding Indictment; Docket No. 202.) Presently before this Court

is Briggs’ appeal of Magistrate Judge Hugh B. Scott’s order of detention.

        2.       Briggs has been detained since his August 17, 2010 arraignment before

Judge Scott. A detention hearing was held on August 26, 2010, at which Judge Scott

ordered continued detention. He moved for release on September 14, 2010, but Judge

Scott denied that motion. (Docket Nos. 46, 132.) He twice appealed that decision to no

avail: this Court affirmed Judge Scott’s order on March 3, 2011, and later on August 29,

2011.

        Briggs again moved for reconsideration of his detention status on November 18,

2011, which Judge Scott again denied. Briggs now appeals that Order.1

        3.      In each of the prior decisions denying release on bail, Judge Scott and this

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         This Court reviews a m agistrate judge’s release order under a de novo standard. See, e.g.,
United States v. Leon, 766 F.2d 77, 80 (2d Cir. 1985).
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Court found that Briggs was a flight risk and posed a danger to the community. He does

not currently take issue with those rulings. Instead, he argues that the length of his pre-trial

detention warrants release under the Due Process Clause.

       4.      “Due process sets no bright-line limit on the length of pretrial confinement.”

United States v. Hill, 462 F. App'x 125, 127 (2d Cir. 2012) (citing United States v. Orena,

986 F.2d 628, 630 (2d Cir.1993); United States v. Melendez–Carrion, 820 F.2d 56, 59 (2d

Cir. 1987)). “Thus, the ‘length of detention will rarely by itself offend due process.’” Id.

(citing United States v. Millan, 4 F.3d 1038 1044 (2d Cir. 1998)). Instead, courts must look

to the totality of the circumstances. Accordingly, longer detentions—thirty-three

months—have been upheld while shorter detentions—26 months—have been found

unconstitutional. Compare United States v. El–Hage, 213 F.3d at 79-81, with United States

v. Gonzales Claudio, 806 F.2d 334, 341 (2d Cir.1986). “To determine whether the length

of pretrial detention has become unconstitutionally excessive, a court must weigh: (1) its

length, (2) the extent of the prosecution's responsibility for delay of the trial, (3) the gravity

of the charges, and (4) the strength of the evidence upon which detention was based, i.e.,

the evidence of risk of flight and dangerousness.” United States v. El–Hage, 213 F.3d 74,

79-80 (2d Cir. 2000).

       5.      Briggs has been detained for 23 months. Considering the totality of the

circumstances, such a detention does not offend the Due Process Clause. This Court has

found that “the nature of Defendant's alleged offenses and his potential for a lengthy

period of incarceration provide a motive to flee and weigh against release.” (Order dated

March 3, 2011; Docket No. 165.) It has further found that the “evidence against the

Defendant appears strong, consisting of intercepted communications involving Briggs.

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Moreover, Briggs has a criminal history of narcotics convictions.” (Order dated August 29,

2011; Docket No. 282.) Those circumstances have not changed. Given the seriousness

of the allegations, the strength of the evidence against him, and “the inherent complexities

of this large multi-defendant case” involving 24 alleged co-conspirators, reams of

discovery, and extensive motion practice, this Court finds that Briggs’ continued detention

is justified at this time. See Hill, 462 F. App'x at 127 (delay of nearly 2 years justified under

very similar circumstances).

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         IT HEREBY IS ORDERED, that Defendant’s Appeal of the Magistrate Judge’s Order

of Detention is (Docket No. 398) is DENIED.




Dated:         July 13, 2012
               Buffalo, New York

                                                             /s/William M. Skretny
                                                             WILLIAM M. SKRETNY
                                                                    Chief Judge
                                                             United States District Court




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